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                   Exhibit 11
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                                                                                                                                    technical
                                                                                                                                        note




Uncooled detectors for thermal imaging cameras
Making the right detector choice
In the last few years thermal imaging has found its way into many more com-             also exists a ferroelectric technology based on Barium Strontium Titanate
mercial applications. Most of these applications require a low cost product             (BST).
with an uncooled detector. These sensors image in the LWIR, or longwave
infrared band (7 - 14 μm). Different types of uncooled detectors are available          Users of thermal imaging cameras should get the best and most modern tech-
on the market. Since the infrared detector is the heart of any thermal imaging          nology if they decide to purchase a system for whatever application. The ability
camera, it is of the utmost importance that it is of the best possible quality.         to see crystal clear pictures through darkness, fog, haze and smoke all depends
                                                                                        on the quality of the detector. Understanding the different technologies for
Uncooled detectors are made of different and often quite exotic materials               uncooled detectors that are currently on the market can help in making the
that each have their own benefits. Microbolometer-based detectors are either            right choice.
made out of Vanadium Oxide (VOx) or Amorphous Silicon (α-Si) while there

Thermal imaging:                                            The technology used at that point in time required
initially developed for the military                        that the camera was filled with liquid nitrogen.
Thermal imaging is a technology that originated             The systems were extremely expensive and the
in military applications. Thermal imaging cameras           military had a lock on the technology because it was
produce a clear image on the darkest of nights.             classified.
They need no light whatsoever to operate, and
allow seeing without being seen yourself. Thermal           The military has always been convinced that thermal
imaging cameras can also see to some extent through         imaging is an extremely useful technology. In the
light fog, rain and snow. They also have the ability        beginning of the 1970’s the US Military wanted to
to see through smoke which makes it even more               bring the technology to every soldier. In order to
interesting for military users since they can see across    do so, thermal imaging cameras needed to become
a smoke-covered battleground.                               a lot more compact, portable and definitely a lot
                                                            less expensive. It became very clear that in order to   The first thermal imaging cameras were bulky systems that
The first thermal imaging cameras for the military          reach this objective, cooled detectors needed to be     needed to be filled with liquid nitrogen
were developed in the 1950’s. Although they had the         replaced by uncooled detectors. Research into this
ability to create a clear image on the darkest of nights,   field was necessary.
they were bulky systems that were hard to field.




COMMERCIAL VISION SYSTEMS
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Vanadium Oxide, Barium Strontium Titanate,                                         Estimated market
                                                                                        Market      shares
                                                                                               shares      for VOx
                                                                                                      for VOx  - a-Si- and
                                                                                                                       a-Si BST
                                                                                                                            and detectors
                                                                                                                                BST detectors
Amorphous Silicon: what is the most popular
today?                                                                                   13%

Looking at these three technologies, it is undoubtedly
Vanadium Oxide that is winning the battle between          17%
the technologies. There are now far more companies
that are producing Vanadium Oxide detectors. This
obviously reflects in the number of detectors that
are being produced worldwide. As with all products,
when volumes go up, prices go down, thanks to
economies of scale. Today Vanadium Oxide detectors
                                                                                                                                                                 70%
are being produced at a much lower cost than either
of the two other technologies.
                                                                                VOx is clearly the most used technology for uncooled detectors
It is significant to see that so many important
manufacturers and demanding users are choosing
Vanadium Oxide.                                               Vanadium Oxide 70%           Amorphous Silicon 17%      Barium Strontium Titanate 13%



   Noise Equivalent Temperature Difference                 At first glance, both systems have the same noise
   (NETD)                                                  performance. But if the values are recalculated to        What is the f/number of a lens
   The noise rating of an infrared detector specifies      the same f-number, then a totally different picture       In optics, the f/number (sometimes called
   the amount of radiation required to produce an          emerges:                                                  focal ratio, f/ratio, or relative aperture) of an
   output signal equal to the detectors own noise.                                                                   optical system expresses the diameter of the
   Practically, it specifies the minimum detectable        BST: 0.1 Kelvin at 25°C with f = 1                        entrance pupil, (this is a virtual aperture that
   temperature difference.                                 VOx: 0.039 Kelvin at 25°C with f = 1                      defines the area at the entrance of the system
                                                                                                                     that can accept light), in terms of the effective
   Being able to detect the minute temperature             Clearly, if a lens with the same f/number is              focal length of the lens. In simpler terms, the
   differences is important in most thermal imaging        used, VOx produces a result which is nearly               f/number is the focal length divided by the
   applications. A thermal imaging camera which is         three times better than BST. The same goes                aperture diameter.
   capable of detecting extremely small temperature        when VOx is compared to α-Si.
   differences will “see” more in all circumstances, and                                                             Generally speaking, a lens with a higher
   certainly in environments where thermal contrast        The conclusion of this comparison is that VOx             f/number is a lens with a smaller diameter.
   between the background and an object is minimal.        detectors are the most sensitive. They make the
   As such, a better NETD value will provide for better    smallest of temperature differences apparent. This        It is easy to understand that a lens with
   range performance, i.e. a person can be seen at a       is important in any thermal imaging application.          a big aperture diameter allows for more
   longer distance.                                                                                                  light, or infrared radiation, to go through it.
                                                           VOx versus α-Si                                           Consequently, more infrared radiation will
   When comparing NETD values of different thermal         VOx detectors have an impedance of around                 reach the detector, which means that the
   imaging cameras, it is important to realize that        100Kohm for a typical resistor. This is an important      detector will react more to this incoming
   manufacturers measure this using different              advantage over α-Si detectors that typically have         radiation. Under the same circumstances,
   parameters. One important parameter that needs          an impedance of 30Mohm.                                   with the same detector, a thermal camera
   to be taken into account when specifying the                                                                      will have much better NETD values when the
   NETD value of a thermal imaging camera is the           A resistor of 100Kohm will have a higher current          measurement is done with a lens with a large
   f-number of the lens that was used for doing the        running through it at the same voltage and therefore      diameter or low f/number.
   measurement.                                            the Johnson noise (or thermal noise) will be lower.

   Comparing NETD values                                   The Johnson noise voltage of a resistor is modeled
   If we want to compare the NETD values of different      as follows:
   detectors, it needs to be done by using a lens with
   the same f-number.                                             E = ( 4 k T R Δf )½ (V RMS)
   VOx versus BST                                          where                                                     A lens with a higher f/number has a smaller diameter
   NETD values of BST detectors are often measured         E = the Root-Mean-Square or RMS voltage level
   with a lens with an f-number = 1. Values for            k = Boltzmann's constant (1.38 x 10-23)                 The Johnson noise voltage is predictable and
   Vanadium Oxide detectors are often measured             T = temperature in Kelvin                               depends on three conditions: resistor value, circuit
   with a lens with an f-number = 1.6                      		 (Room temp = 27 °C = 300 K)                          bandwidth and temperature. The higher the resistor
                                                           R = resistance                                          value, the higher the Johnson noise. This will be
   Comparing the NETD might give the following             Δf = Circuit bandwidth in Hz                            seen as “random speckle noise” in the image quality
   values:                                                 		 (Assumes a perfect brickwall filter)                 of a thermal camera. Johnson noise is one of the
   BST: 0.1 Kelvin at 25°C with f = 1                                                                              main contributors to noise in the image of an
   VOx: 0.1 Kelvin at 25°C with f = 1.6                                                                            uncooled detector.
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Uncooled detectors: a brief history
Two basic uncooled detector types have emerged today. Ferroelectric detectors and microbolometers.
Ferroelectric detector
Ferroelectric detector technology takes advantage                 In 1978, one of the companies patented ferroelectric
of a ferroelectric phase transition in certain dielectric         infrared detectors, using Barium Strontium Titanate
materials. At and near this phase transition, the electric        (BST). The technology was demonstrated to the
polarization of the dielectric is a strong function of            military for the first time in 1979.
temperature. Small fluctuations of temperature in the
material cause large changes in electrical polarization.          At the same time however, another technology was
If the sensor is maintained at a temperature near the             developed: Vanadium Oxide (VOx) microbolometer
ferroelectric phase transition and if the optical signal          technology.
is modulated (with a synchronous chopper), then an
infrared image can be obtained.                                   VOx versus BST
                                                                  The US military provided funding for both companies
                                                                                                                              Today, the US Government is convinced that VOx has numerous
Microbolometer                                                    to develop their thermal imaging technology into
                                                                                                                              advantages over BST
A microbolometer is a specific type of resistor used as           equipment systems including rifle sights and driver
a detector in a thermal camera. It is a tiny vanadium             vision enhancement systems. They strongly believed          BST technology kept it for itself while the VOx
oxide (VOx) or amorphous silicon (a-Si) resistor with             in thermal imaging systems with uncooled detectors          technology was licensed to different manufacturers.
a large temperature coefficient on a silicon element              and wanted to further develop both BST and VOx              Today, only one company is still producing BST
with large surface area, low heat capacity and good               detector technology. This way the US military would         detectors. In March 2008, this company announced
thermal isolation. Infrared radiation from a specific             have a choice of technology.                                that it is phasing out the production of uncooled BST
range of wavelengths strikes the vanadium oxide                                                                               ferroelectric FPAs and cameras. The company expects
or amorphous silicon and changes its electrical                   About 10 years ago this changed. At that point in time,     to stop producing BST detectors in mid-2009.*
resistance. Changes in scene temperature cause                    convinced of the advantages VOx has over BST, the US        VOx is being produced by numerous manufacturers
changes in the bolometer temperature which are                    Military decided not to provide any more funding for        that made the same choice as the US military.
converted to electrical signals and processed into                research into BST technology. From that point in time,
an image.                                                         only further research in VOx was supported.                 A third technology: Amorphous Silicon
                                                                                                                              In the mid 90’s a third technology was developed.
In the 1970’s, two companies started research                     As in all areas, research into new uncooled detectors       Instead of using a thin layer of Vanadium Oxide to
to develop uncooled infrared detectors. The US                    is very expensive. The loss of government funding for       coat the microbolometer, a thin layer of Amorphous
Government awarded HIDAD (HIgh-Density Array                      BST meant that research in this technology slowed           Silicon (α-Si) was used. The big advantage of
Development) contracts to both companies, for the                 down drastically. While VOx technology developed,           using Amorphous Silicon at that point in time was
development of thermal imaging technology for                     and is still continuing to do so, the research into BST     that uncooled detectors could be fabricated in a
practical military applications.                                  stagnated. Furthermore, the company that developed          silicon foundry. Furthermore, the Vanadium Oxide
                                                                                                                              technology was still controlled by the US military
                                               IR RADIATION                                                                   which meant that an export license was required for
                                                                                                                              thermal imaging cameras with a VOx microbolometer
                                                                                                                              detector that were sold outside the US.

                                                                                                                              Today both reasons for using Amorphous Silicon
                                                                                               MICROBRIDGE                    instead of Vanadium Oxide have disappeared.
                                                                                                                              Vanadium Oxide detectors can also be produced in
                                                                                                                              a silicon foundry. The best example is FLIR Systems
                                                                                                                              detectors. Together with AMI Semiconductor
                                                                                                                              (AMIS), a leader in the design and manufacture of
                                                                                                                              silicon solutions, FLIR Systems is investing in a new
                                                                                                                              production facility for Vanadium Oxide detectors. It
                                                                                                                              will be part of a normal silicon foundry.

                                                                                          CMOS INPUT CELL                     The exportability issue is also slowly starting to become
                                                                                                                              obsolete. The US Government knows that applications
                                                                                                                              for thermal imaging cameras are rapidly emerging and
                                                                                                                              they do not want to deprive US companies of the huge
                                                                                                                              growth possibilities connected to this technology.
                                                                                                                              Therefore Vanadium Oxide detectors with an image
                                                                                                                              frequency of 8.3 Hz PAL / 7.3 Hz NTSC are already
                                                                                                                              freely exportable worldwide (with some restrictions
                                                                                                                              such as for embargoed countries). Systems with a
                                                                                                                              higher image frequency of 25 Hz PAL/30 Hz NTSC can
                                                                                                                              be exported with a simple Department of Commerce
Schematical overview of a microbolometer detector. A bolometer is a small plate that floats above the surface of a Read Out   (DOC) export license, as opposed to a more difficult to
Integrated Circuit (ROIC). The temperature of the plate changes when a photon falls on it.                                    obtain State Department license.
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                                          The lenses of a thermal imaging camera are made of Germanium.


Lenses of thermal imaging cameras:                   size does matter
If a bigger lens allows one to build more                            of a thermal imaging camera are made of            If we combine this with the fact that VOx
sensitive thermal imaging cameras, the question                      germanium. This material is a good transmitter     detectors can be produced less expensively
can be raised: why are manufacturers that are                        of infrared radiation. However, it is a very       than BST and α-Si detectors, thermal imaging
producing thermal imaging cameras with VOx                           expensive material.                                systems with big lenses, such as systems with a
detectors not using lenses that are equally big as                                                                      BST or α-Si detector, will be more expensive than
the ones used on thermal imaging cameras with                        Using a lens with larger diameter increases the    cameras with a VOx detector.
BST or α-Si detectors?                                               price of the lens, and consequently the price of
                                                                     the thermal imaging camera, drastically. That      Camera size
Lenses of thermal imaging cameras are different                      is why thermal imaging camera manufacturers        But there is more. Mounting a big lens on a
from lenses of normal cameras. Glass does not                        try to use lenses with a small diameter, or high   camera has other disadvantages. The center of
transmit infrared radiation well and so the lenses                   f-number.                                          gravity will move towards the front of the camera.
                                                                                                                        This makes the thermal imaging camera heavy
                                                                                                                        and more difficult to handle. Furthermore, the
                                                                                                                        entire system will be bigger. This is an important
                                                                                                                        factor if the camera needs to be integrated in
                                                                                                                        confined spaces such as cars, UAV’s or other small
                                                                                                                        (handheld) devices, but also when they need to
                                                                                                                        be mounted on poles for security and surveillance
                                                                                                                        applications, on ships, …




Left image is produced by a VOx detector. The right by a BST detector.
Notice the difference in image qualtiy and focus depth.



Focus depth
Finally the depth of focus is very shallow for                    When investing in a thermal imaging system,
big, low f/number lenses. Practically speaking,                   the user should be sure that the camera is
this means that the foreground will be in                         easy to handle and to install and as small as
focus but the background will be out of focus.                    possible. Furthermore it should detect the
When looking at a human face, the nose                            smallest of temperature difference so that
might be in focus but the ears will be out of                     more details can be seen on the thermal
focus. If we project this to another situation,                   image. A thermal imaging camera with a
the man walking very close to the thermal                         Vanadium Oxide detector is therefore the
imaging camera will appear very sharp, but the                    obvious choice.
background will not. Seeing what is happening
in the background is equally important.                                                                                 The size of a thermal imaging camera is an important factor if the
                                                                                                                        camera needs to be integrated in confined spaces such as cars.
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Pixel size                                                         Who is using which type of detector?
Just like every digital image, a thermal image is                  Probably the most demanding customer in
built up by a number of individual pixels. The                     the world is the US Military. They insist on
minimum size of the pixels produced by a BST                       having the best possible equipment since the
detector is 50 microns. Both VOx and α-Si detectors                lives of thousands of people can depend on
can produce pixels as small as 15 micron. This                     it. The US Military has firmly chosen Vanadium
allows for smaller lenses and therefore cheaper                    Oxide technology. It is being used in virtually
and more compact camera systems.                                   all their thermal imaging equipment which
                                                                   contains an uncooled detector.
Since the pixels produced by a VOx or α-Si
detector can be a lot smaller, these technologies                  At the same time, significant industrial
evolved into detectors that can produce thermal                    companies have expressed their choice for
images of 640 x 480 pixels in a reasonably small                   Vanadium Oxide. Just one example is BMW,
array. This is a four times better image than the                  one of the most prestigious car brands in the
                                                                                                                          BMW opted for thermal imaging cameras with Vanadium Oxide
320 x 240 pixels images to which BST detectors                     world. A recent innovation to help drivers             detectors for their driver vision enhancement system
are restricted. It is another clear example about                  see better at night is the "BMW Night Vision"
how VOx and a-Si detectors have evolved while                      system. BMW opted for thermal imaging
BST technology is still at the same point where it                 cameras with Vanadium Oxide detectors                  which can be ordered as an option on selected
was more than 10 years ago.                                        for their driver vision enhancement system             BMW 7-, 6- and 5-series models.

                                                                recalibrates the image. This so-called Auto Image         Thermoelectric Cooler
                                                                Calibration (AIC), is actually a continuously rotating    In ferroelectric BST detectors, thermoelectric
                                                                “chopper”. This is needed because the only way            coolers (TECs) are utilized to temperature stabilize
                                                                that a ferroelectric BST detector can create an           the IR detector insuring that what the camera
                                                                image based on temperature differences is by              measures is resulting only from external photonic
                                                                continuously switching the signal that is falling         sources. VOx detectors (and some α-Si detectors)
                                                                on the detector on and off and then sampling the          do not require this Thermoelectric Cooler.
                                                                difference between the successive frames.
                                                                                                                          The advantages of not having to use a TEC are
                                                                The continuously rotating chopper blocks the              many. Apart from enabling the camera to operate
                                                                detector 50% of the time. This means that half            over a wide temperature range while maintaining
                                                                the time the detector is not receiving any infrared       excellent dynamic range and image quality, two
                                                                radiation from the scene. This does not benefit           other significant benefits are realized from TEC-less
                                                                the sensitivity of the camera.                            operation: reduced power consumption which is
                                                                                                                          important in battery operated applications, and
                                                                A continuously rotating mechanical device is              “instant-on” capability. The time to image is less
                                                                also very susceptible to breakdown, and is very           than 2 seconds – ideal for on-demand applications
A ferroelectric detector has a continuous rotating chopper      sensitive to shock and vibration. The Mean Time           like firefighting.
which is susceptible to breakdowns.                             Between Failure (MTBF) for a ferroelectric BST
                                                                camera is therefore a lot shorter than for a thermal
Ferroelectric versus microbolometer focal                       imaging camera with a microbolometer detector,
plane arrays                                                    especially in harsh environments.
As described in the beginning of this article there
is a difference between ferroelectric detector                  Microbolometers also have an internal
technology, which uses BST, and microbolometer                  mechanical calibration device. This NUC “paddle”
detector technology using VOx or α-Si.                          will periodically flag in front of the detector.
                                                                It freezes the image for a fraction of a second
Because ferroelectric sensors are AC coupled,                   and recalibrates it. However, it is only blocking
there is an internal mechanical chopper that                    the detector from the scene very briefly and is           Not having a Thermoelectric Cooler is a big advantage in
                                                                less susceptible to breakdown compared to a               firefighting applications, since cameras are turned on and off to
                                                                chopper.                                                  conserve battery power and any delays in producing an image
                                                                                                                          can be potentially dangerous.


                                                                Image retention and Halo effect
                                                                Image retention is a phenomenon where there is           A halo is a ring of light that surrounds an object. The
                                                                a temporary “burn in” when looking at a certain          same effect can appear on a thermal image, and
                                                                object. An example we all know is when you look          BST detectors are very susceptible to this. Most of
                                                                directly at the sun. When you look away an image         the time this happens with hotter objects. They are
                                                                of the sun will persist in your eyesight for a couple    surrounded with a dark ring. Needless to say, this is
                                                                of seconds. α-Si detectors are more prone to this        not benefiting the image quality.
BST detectors are susceptible to the halo affect. A dark ring   phenomenon than VOx detectors.
surrounds bright hotter objects.
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Conclusion
When deciding to invest in a thermal imaging                          -    Who is buying which technology and
camera with an uncooled detector, make sure you                            what are the applications of the different
buy a system with a modern detector. Although                              technologies?
manufacturers of different technologies will come                          Although cameras with BST detectors are still
up with their own arguments to support that their                          being used and sold for various applications,
technology is the best, one might consider the                             the most demanding users have chosen for
following points:                                                          VOx technology. Examples are not only the
                                                                           US military but also industrial companies like                     Visual image                  Thermal image

-     Detector sensitivity:                                                BMW which have chosen thermal imaging
      When comparing different types of detectors                          cameras with Vanadium Oxide microbolometer
      under the same circumstance (using lenses                            detectors for their driver vision enhancement
      with the same f/number) Vanadium Oxide will                          system.
      undoubtedly come out as the most sensitive
      material allowing the user to see better than                   Although all these considerations are very
      with any other uncooled detector material.                      important and can help to make a decision about
                                                                      which technology to use, you need to evaluate                           Visual image                  Thermal image
-     Cost/ volume                                                    the entire thermal imaging camera and not only
      Vanadium Oxide is produced in far higher                        its detector. However, the type of detector that is
      quantities than any other uncooled detector.                    inside the camera will have a huge impact on the
      Thanks to these high volumes, prices have                       performance of the entire camera system.
      come down considerably. Often a thermal
      imaging camera with a Vanadium Oxide                            A thermal imaging camera with a Vanadium
      detector will be less expensive. If not, it will                Oxide microbolometer detector will likely
      definitely give you the best value for your                     be more compact, more sensitive and less
                                                                                                                                               Visual image                 Thermal image
      money.                                                          expensive. The Mean Time Between Failure will
                                                                      be a lot higher than for any other detector.
-     Reliability / ruggedness
      Vanadium Oxide cameras are more reliable                        Furthermore, contrary to other detector
      than BST detector-based cameras. They do                        technologies, there is still a lot of research
      not need a “chopper” to produce an image.                       being done into VOx technology. This means
      This means that they have less moving parts                     that differences between VOx and the other
      which reduces the possibility of a breakdown                    technologies will only become even bigger in the
      drastically.                                                    future.                                                                  Visual image                 Thermal image


-     Availability                                                                                                                       Worldwide, numerous users of thermal imaging cameras
                                                                                                                                         have discovered that a thermal imaging camera with a
      Since so many manufacturers are producing                                                                                          Vannadium Oxide detector gives the best results for their
      Vanadium Oxide detectors, there is a lot more                                                                                      application
      supply. They are available immediately which
      means that the delivery time of a camera with
                                                                                                                                         * Source:   Infrared Imaging News, Volume 14,
      a VOx detector can be much shorter.                                                                                                            Issue: 4, April 2008




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                                                                                                                                         and advice.

                                                                                                                                         For more information about thermal imaging
                                                                                                                                         cameras or about this application,
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                                                                                                                                                                                                     AS_0109_0015_EN




    The Photon 640 is equipped with a Vanadium Oxide Microbolometer detector with a 25 µm pitch. It produces crisp thermal
    images of 640x480 pixels in which the smallest of details can be seen. Users that do not need such a high image quality can choose
    for the Photon 320. This thermal imaging camera is equipped with a Vanadium Oxide Microbolometer detector with a 38 µm pitch
    producing thermal images of 320x240 pixels.
